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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION
                                    www.flmb.uscourts.gov

 In re:

 DUSOBOX CORPORATION,                                Case No.: 6:24-bk- 00391
                                                     Chapter 11
          Debtor.
                                                     Expedited Hearing Requested on or Before:
 ____________________________/                       January, 31, 2024, or as soon thereafter as
                                                     possible

                                                     Estimated Time Needed for Hearing:
                                                     15 Minutes

                         DEBTOR’S EMERGENCY MOTION FOR
                    AUTHORITY TO PAY AFFILIATE OFFICER SALARIES

          The Debtor, Dusobox Corporation, by and through its undersigned counsel and pursuant

to Local Rule 2081-1(6), moves for authority to pay affiliate officers’ salaries on a going forward

basis (“Motion”), and in support thereof states as follows:

          1.     The Debtor filed the petition in this case on January 26, 2024 (the “Petition Date”).

          2.     The Debtor continues to operate its business as debtors-in-possession, pursuant to

§§ 1107 and 1108 of the Bankruptcy Code.

          3.     The Debtor has two affiliate officers, John L. Kelley (“John”) and Richard Kelley,

Jr. (“Richard”).

          4.     The Debtor is a Florida corporation. John holds a 66% stock interest in the Debtor.

Richard holds a 44% stock interest. John is the President of the Debtor. Richard is the Vice

President of the Debtor. John and Richard are key employees of the Debtor. The Debtor cannot

sustain its operations without John and Richard working full time for the business.
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        5.       John’s is the top executive in Dusobox and is responsible for setting the overall

vision and direction of the company. His specific duties include:

             a. High-Level vendor, equipment manufacturer and customer relationships.

             b. Maintains industry association board positions.

             c. Produce/Company Innovation (R&D).

             d. Maintaining the culture and Core Values.

             e. Setting company business strategy.

        6.       Richard handles design and estimating for Dusobox. His duties include:

             a. Leading the department head for design (a direct report).

             b. Managing key, longstanding customer relationships like Publix.

             c. Compiling and/or reviewing all outgoing quotes.

             d. Participating on the leadership team.

        7.       John does not have a written employment agreement with the Debtor. During the

12 months before bankruptcy, he earned $7,692.34 biweekly. Deductions include federal income

tax $792.00, Social Security $382.011, Medicare $165.01, 401K $384.62 Dental EO $7.04, Dental

ES $6.00, FSA $109.61, Medical $217.12, PPO3824 ES $538.57, Vision EO $2.53, Vision ES

$6.00, and Vol Acc ES $9.69. The Debtor contributes $192.31 to his 401K fund biweekly.

        8.       Richard does not have a written employment agreement with the Debtor. During

the 12 months before bankruptcy, he earned $7,692.34 biweekly. Deductions include federal

income tax $1,038.13, Social Security $382.011, Medicare $170.60, 401k $883.24, Dental EO




1
   The amount listed is the average amount of the total Social Security deduction over 26 pay periods in 2023. The
deduction of Social Security for 2023 was 6.2 percent of gross wages until maximum salary of $160,200 is reached.
In 2024, the deduction is 6.2 percent of gross wages until maximum salary of $168,600 is reached.
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$11.86, Dental ES $16.64, Medical $147.95, PPO3805 ES $410.20, Vision EO $2.53, and Vision

ES $6.00. The Debtor contributes $0.00 to his 401K fund biweekly..

        9.       Neither John nor Richard performs services for any third party for which they

receive compensation, and neither receives nor will receive compensation from any source other

than the debtor-in-possession after the Petition Date.

        10.      The Debtor proposes to pay John a salary of $7,692.34 biweekly.

        11.      The Debtor proposes to pay Richard a salary of $7,692.34 biweekly.

        12.      The Debtor requests authority to compensate John and Richard effective to the

petition date.

    WHEREFORE, the Debtor requests the entry of an order: authorizing the Debtor to pay

affiliate officer salaries, together with applicable taxes and benefits, as described above, effective

to the Petition Date.


Dated: January 29, 2024                        Respectfully submitted,

                                               /s/Michael A. Nardella
                                               Michael A. Nardella, Esq.
                                               Florida Bar No. 051265
                                               Jonathan M. Sykes, Esq.
                                               Florida Bar No. 073176
                                               Nardella & Nardella, PLLC
                                               135 W. Central Blvd., Suite 300
                                               Orlando, FL 32801
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                                               mnardella@nardellalaw.com
                                               jsykes@nardellalaw.com
                                               klynch@nardellalaw.com

                                               Proposed Counsel for Debtor in Possession
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on January 29, 2024, I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system; and furnished a copy by first class mail U.S., postage
prepaid to (a) all non-filers on the Local Rule 1007-2 Parties-in-interest list as shown on the
mailing matrix attached to the original of this document filed with the court.


                                               /s/Michael A. Nardella
                                               Michael A. Nardella, Esq.
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  List of Creditors Holding 20 Largest Unsecured Claims

                    American Express
                    P.O. Box 650448
                    Dallas, TX 75265

                    AMERITEK INC.
             118 SOUTH WALNUT CIRCLE
                  Greensboro, NC 27409

            BEST DEDICATED SOLUTIONS
              702 N. DEERPATH DRIVE
                Vernon Hills, IL 60061

                 Colfin 2017-2 Industrial
                      Owner, LLC
                    345 Park Avenue
                  New York, NY 10154

               EXPRESS SERVICES, INC
                   PO BOX 535434
                  Atlanta, GA 30353

                 FLOCK FREIGHT, INC
                   DEPT. LA 24808
                  Pasadena, CA 91185

                  HOOD CONTAINER
                   (TAMPA PLANT)
                301 COMMERCE BLVD
                     BUILDING #1
                   Oldsmar, FL 34677

            HOOD CONTAINER (ATLANTA)
             5090 McDOUGALL DRIVE SW
                   Atlanta, GA 30336

              IMPACT IMAGING GROUP
            1015 W. BOBO NEWSOM HWY
                 Hartsville, SC 29550

                    KIWIPLAN, LLC
                7870 E. KEMPER ROAD
                   SUITE 200 SOUTH
                  Cincinnati, OH 45249
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                     LEWISBURG
                 170 WOODSIDE AVE
                  Lewisburg, TN 37091
                     MARK TRECE
           5385 GATEWAY BLVD BAYS 1-5
                   Lakeland, FL 33815

                    Meredith Webb
                 334 North Main Street
                 Burlington, NC 27217

              Orange county Tax Collector
                    Scott Randolph
                   P.O. Box 545100
                  Orlando, FL 32854

               SCHWARZ PARTNERS
                 PACKAGING LLC
              1101 EAST 33RD STREET
                  Hialeah, FL 33013

                Small business Admin
                  409 3rd St., SW
                Washington, DC 20416

         SUSTAINABLE CORRUGATED, LLC
             2852 FIVE SPRINGS ROAD
                  Dalton, GA 30720

              THE JM FRY COMPANY
               4329 EUBANK ROAD
                 Henrico, VA 23231

          TOROSIAN TECH SERVICES, INC
                 P.O. BOX 8243
              Portsmouth, NH 03802

                       Visipak
                 123 Manufacturers Dr
                  Arnold, MO 63010
